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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF MINNESOTA


ELISABETH CLEVELAND, on behalf of
herself and all others similarly situated,                         Case No.
                                     Plaintiff,
           v.                                                      CLASS ACTION COMPLAINT

WHIRLPOOL CORPORATION,
                                                                   Demand for Jury Trial
                                     Defendant.




                                       CLASS ACTION COMPLAINT

           Plaintiff Elisabeth Cleveland (“Plaintiff”), by and through counsel, brings this Class Action

Complaint against Defendant Whirlpool Corporation (“Defendant” or “Whirlpool”), on behalf of

herself and all others similarly situated, who own or owned certain dishwashers designed and

manufactured by Whirlpool and distributed, marketed, and sold by Whirlpool and Whirlpool’s

subsidiary and affiliates thereof, including inter alia KitchenAid, JennAir, Maytag, and Kenmore.

Plaintiff, upon personal knowledge as to her own actions and her counsel’s investigations, and upon

information and belief as to all other matters, alleges as follows:

                                           NATURE OF THE CASE

           1.      Whirlpool Corporation is a publicly traded, international conglomerate that touts that

it is “the world’s leading kitchen and laundry appliance company, with approximately $20 billion

in annual sales, 77,000 employees and 59 manufacturing and technology research centers in 2019.”1




1
    https://investors.whirlpoolcorp.com/home/default.aspx (Last Accessed September 3, 2020).

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Within this Whirlpool umbrella exists numerous other household brand names, including

KitchenAid, JennAir, Maytag, 2 and Kenmore.3

        2.      Among a bevy of other home appliances, Whirlpool has designed and manufactured

dishwashers for decades. It currently boasts that it is the “industry’s best-selling dishwasher brand.”4

        3.      In the last decade, Whirlpool designed and manufactured certain dishwashers in a

substantially similar manner, which were sold under the following brand names and models:

Whirlpool Gold® and Whirlpool Models beginning with BLB14DR, IUD750, IUD850, WDF5,

WDF7, WDL785, WDT7, WDT9, WDTA5, and WDTA7; JennAir Models beginning with JDB8,

JDB9, and JDTSS2; Kenmore Models beginning with 662.13, 665.12, 665.13, 665.14, and 665.15;

KitchenAid Models beginning with KDFE1, KDFE2, KDFE3, KDFE4, KDTE1, KDTE2, KDTE3,

KDTE4, KDTE5, KDTE7, KDHE4, KDHE7, KDTM3, KUDE2, KUDE4, KUDE5, KUDE6,

KUDE7, KUDL, KDPE2, and KDPE3; and Maytag Models beginning with JDB8. There are more

than 900 models, including those listed here, which contain a defect described below (“Class

Dishwashers” or “Dishwashers”).

        4.      The Dishwashers were and are marketed as “high-quality” products, with base retail

pricing ranging from $500-$700. Since at least 2015, as part of its marketing campaign Whirlpool

has boasted to consumers about the durability of these “high-quality”5 dishwashers, claiming that

“No One Has Fewer Repairs 18 Years in a Row.”6




2
   https://www.whirlpoolcorp.com/brands-we-love/ (Last Accessed September 3, 2020).
3
   Although Whirlpool manufactures dishwashers for Kenmore, Kenmore is not owned by Whirlpool.
4
   https://www.whirlpool.com/kitchen/dishwasher-and-cleaning.html (Last Accessed September 3, 2020).
5
   See Dishwasher User Instructions (“THANK YOU for purchasing this high-quality product.”).
6
  https://web.archive.org/web/20150116052616/http://www.whirlpool.com/kitchen-1/dishwasher-&-cleaning-
2/dishwashers-3/-[WDF760SADW]-1022282/WDF760SADW/ (Last Accessed September 3, 2020).

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       5.      However, Whirlpool designed, manufactured, distributed, marketed, and sold the

Dishwashers with a uniform defect that can and has caused the Dishwashers to leak and damage

consumers’ cabinetry, flooring and other property. The dishwashers were and are equipped with a

pump motor diverter shaft seal (“Diverter Shaft Seal” or “Shaft Seal”) oriented incorrectly,

accelerating degradation of the seal and creating a buildup of debris that prevents the shaft seal

spring from properly sealing the diverter shaft and sump. As a result of this uniform defect involving

the failure of the Diverter Shaft Seal to seal off water between the diverter shaft and sump, Plaintiff

and Class Members’ Dishwashers experience significant leakage through the Diverter Shaft Seal,

flowing out of the dishwasher, damaging cabinetry, flooring, and other property.

       6.      A Diverter Shaft Seal is part of a dishwasher’s sump assembly, which is located at

the bottom of the dishwasher’s tub and is collectively responsible for collecting and distributing the

water throughout the dishwasher during cleaning. The sump collects and holds water below the

dishwasher tub and the diverter shaft directs the collected water into the spray arms, while the

Diverter Shaft Seal prevents leaks between the sump and the tub.

       7.      Below is a representative parts diagram, with (4) being the sump and Diverter Shaft

Seal assembly, and (17) the dishwasher’s diverter motor. The red circle specifically indicates the

location of the Divert Shaft Seal.




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       8.      Upon information and belief, the Divert Shaft Seal’s manufacturer’s installation

instructions direct the seal to be affixed in an orientation towards the tub so that there is protection

from hot soapy water and debris during cleaning, and a complete and properly functioning seal.

However, Whirlpool designed and manufactured the sump and diverter motor pump assembly with

the seal affixed in an inverted position, which exposes it to hot soapy water and debris. As the debris

builds and the seal degrades, water begins to leak between the sump and the tub, eventually leaking

through the entire unit and onto floors and inside cabinetry.



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       9.       A photograph of a degraded, failed seal:




       10.      Whirlpool has known for at least eight years that the Dishwashers contain one or

more design and/or manufacturing defects, including but not limited to the defectively designed and

manufactured sump assembly with the inversely oriented Diverter Shaft Seal in the Class

Dishwashers.

       11.      The defective sump and diverter motor pump assembly in the Dishwashers exists at

the time it leaves the manufacturer, and before it is purchased by consumers. Despite Whirlpool’s

longstanding knowledge of this defect, Whirlpool has failed to remedy the defect and also failed to

inform consumers of the defect. Instead, in contravention of the Dishwasher’s express warranty,

which fails of its essential purpose and is unconscionable, Whirlpool has placed the burden of

repairing this defect and paying for the costs of repairs to the adjacent personal property damaged

by the defective Dishwashers upon the consumers.

       12.      Whirlpool’s warranty states that within one year of the purchase date, Whirlpool

“will pay for Factory Specified Replacement Parts and repair labor to correct defects in materials or




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workmanship that existed when this major appliance was purchased, or at its sole discretion replace

the product.” Exhibit A.

       13.     Upon information and belief, regardless of whether the Dishwasher leaks during the

warranty period or otherwise, and despite having sold the Dishwashers with a defect known to

Whirlpool and unknown to consumers, Whirlpool refuses to replace or repair the Dishwashers and

instead offers to sell a full sump assembly with a new Diverter Shaft Seal attached to it to the

customer. As described in further detail below, the cost to repair the defective sump and diverter

motor assembly is approximately $200.00 or more with installation costs, which is more than 1/3 of

the cost of the original Dishwasher.

       14.     Prior to purchasing the Class Dishwashers, Plaintiff and other Class Members did

not know that the Class Dishwashers have a defective sump and diverter motor pump assembly and

would fail, leak, and cause damage to their floors and cabinetry. Further, even after the Dishwashers

began to leak due to the defect, the leakage under the dishwasher is not noticeable until damage to

the surrounding floors and cabinetry has already occurred.

       15.     Defendant knew or should have known that the Class Dishwashers have a defectively

designed and/or manufactured sump and diverter motor pump assembly that leads to failure of the

Diverter Shaft Seal, and are not fit for their intended purpose of providing customers with a reliable

method of cleaning dishes without resulting in water damage to cabinetry and flooring.

Nevertheless, Defendant failed to disclose this defect to Plaintiff and Class Members at the time of

purchase or thereafter and continued to manufacture the Dishwashers in the same defective manner.

       16.     Had Plaintiff and Class Members known about the defect at the time of purchase, as

well as the associated costs related to repair or replace the Dishwasher, Plaintiff and the Class




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Members would not have purchased the Dishwashers or would have paid less for them. Plaintiff

and Class Members also would not have agreed to the one-year warranty.

                                             PARTIES

       17.     Plaintiff Elisabeth Cleveland is a Minnesota citizen who lives in Saint Paul,

Minnesota.

       18.     Defendant Whirlpool Corporation is incorporated in Delaware, with its principal

place of business located in Michigan.

       19.     Whirlpool and its affiliated brands distribute, market, and direct the marketing of its

Dishwashers in Minnesota, and throughout the United States.

                                  JURISDICTION AND VENUE

       20.     This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act (“CAFA”), 28 U.S.C. § 1332(d) because: (1) there are one hundred or more (named

and unnamed) class members, (2) there is an aggregate amount in controversy exceeding

$5,000,000, exclusive of interest and costs, and (3) there is minimal diversity because Plaintiff and

Defendant are citizens of different States. This Court also has supplemental jurisdiction over the

state law claims pursuant to 28 U.S.C. § 1367.

       21.     This Court may exercise personal jurisdiction over Defendant because Defendant

does substantial business in this State and within this District, receives substantial compensation and

profits from the marketing, distribution, and sale of products in this District, and has engaged in the

unlawful practices described in this Complaint within this District.

       22.     Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of

the events or omissions giving rise to Plaintiff’s claims occurred in this District. Specifically,




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Plaintiff’s dishwasher was purchased and installed in this District, and damages stemming therefrom

also occurred in this District.

                                COMMON FACTUAL ALLEGATIONS

        23.      In 1886, Josephine Garis Cochran invented and patented the first useful dishwasher

for homes. Following its debut at the World’s Fair in 1893, only restaurants and hotels were

interested in purchasing Ms. Cochran’s dishwasher so Ms. Cochran started her own business to

manufacture the machines. That business went on to become KitchenAid.7

        24.      Just a few short years later, in 1911, members of the Upton family who were given

the patent on a manually operated clothes washers founded the company preceding Whirlpool. Over

the next several decades, the company expanded its appliance line and in 1950 it renamed itself

Whirlpool Corporation.8

        25.      In 1986, Whirlpool acquired KitchenAid, and by 2006 it had acquired Maytag and

JennAir.9 Whirlpool and its brands have sold more than $20 billion in household appliances,

including dishwashers, each year since 2014.10

        26.      While KitchenAid, Maytag, JennAir, and Kenmore maintain their own brand names

for the purpose of sales, Whirlpool designed and manufactured the Class Dishwashers at issue in

this action.

        27.      The Dishwashers are used, and intended by Whirlpool to be used, for reliable and

convenient dishwashing.




7
  https://www.uspto.gov/about-us/news-updates/woman-invented-dishwasher (Last Accessed September 3, 2020).
8
  https://www.referenceforbusiness.com/history2/19/Whirlpool-Corporation.html (Last Accessed September 3, 2020).
9
  https://www.whirlpoolcorp.com/2010annual/brand-kitchenaid.html (Last Accessed September 3, 2020).
10
   https://www.statista.com/statistics/220658/revenues-of-whirlpool-since-2007/ (Last Accessed September 3, 2020).

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        28.     Each Dishwasher is designed and manufactured to distribute dish detergent along

with clean, hot water consistently throughout the dishwasher during the cleaning process. This

process is accomplished utilizing various mechanical parts, including motors, rotating spray arms,

and the sump assembly.

        29.     The diverter motor pump and sump assembly are located almost entirely below the

dishwasher tub and is responsible for collecting clean water. The sump is attached to the diverter

shaft and diverter pump motor. Once the temperature of the water has been sufficiently raised, the

water is pumped by the motor into the spray arms, and dispersed throughout the dishwasher by the

rotating diverter shaft.

        30.     The Diverter Shaft Seal is a polymer, elastomeric ring that seals the sump housing

from the diverter assembly and prevents leaking between the diverter shaft and sump. It is intended

to be designed with the sump assembly and installed in such a manner that creates a leak proof seal.

As the dishwasher begins to run and water is pumped into the spray arms, a spring between the

diverter shaft squeezes into the Diverter Shaft Seal and creates a watertight seal.

        31.     However, the Diverter Shaft Seal in the Dishwashers are installed in an inverted

orientation, such that the lips of the seal are unable to tightly fit against the diverter shaft and sump

and prevent leakage. As a result, the Diverter Shaft Seal fails as a result of the inverted orientation

between the diverter pump motor and sump assembly (“the Defect”).

        32.     This failure to properly orient the Diverter Shaft Seal exposes a larger portion of the

Diverter Shaft Seal to hot, soapy water and debris from dirty dishes. As the dishwasher is put into

use, the exposure to the hot soapy water accelerates degradation of the Diverter Shaft Seal’s polymer

materials. Further, the failure to accomplish a complete seal allows for debris to collect, preventing

the spring to completely close and seal off the sump assembly.

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        33.     Upon information and belief, this inverted orientation is a direct violation of the

Divert Shaft Seal’s manufacturer’s installation instructions.

        34.     This accelerated Diverter Shaft Seal failure results in leakage through the Dishwasher

unit itself, into cabinetry and onto floors. The leakage often begins so slowly, that it is not until

complete failure that Plaintiff and Class Members do not know until a complete failure has occurred.

        35.     The Defect is latent such that no reasonable customer would know, or be able to

discover through inspection, that it exists between the diverter motor pump and sump assembly at

the time the Dishwasher is purchased. However, Whirlpool knew or should have known of the

defect before it distributed the Dishwashers into the consumer marketplace.

        36.     Plaintiff and the Class Members have a reasonable expectation that their Dishwashers

will have at least ten years of useful service life.11           However, due to the latent defect, the

Dishwashers fail before ten years and many times within the first four years of the service life.

        37.     When customers first began to complain to Whirlpool about the Diverter Shaft Seal

failures, Whirlpool routinely denied the claim and offered to sell a replacement Diverter Shaft Seal

to the customer for less than $10. However, as claims continued to come in, rather than cover the

cost of repairs to the Dishwashers, Whirlpool discontinued the sale of the individual Diverter Shaft

Seal and now requires consumers to purchase the full sump assembly with the Diverter Shaft Seal

attached. This part, without the cost of installation, is approximately $60-$75. Through the use of

an experienced technician, the cost of repair is approximately $200.00 or more; which is more than

1/3 of the cost of the original Dishwasher. Upon information and belief, the sump assembly

replacement part also has an inverted Diverter Shaft Seal, rendering the replacement part defective.


11
  See also, https://www.consumerreports.org/dishwashers/how-to-make-your-dishwasher-last-longer/ (Last Accessed
September 3, 2020).

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       38.     Whirlpool at all times failed to disclose its knowledge of the defect to customers

during the warranty claims process.

       39.     However, as this Defect is so well known, many appliance repair companies do not

want to risk replacing the sump assembly due to fear that the Diverter Shaft Seal is still installed

upside down and will fail again, leaving consumers with a defective dishwasher.

       40.     Whirlpool expressly and impliedly warrants, via user manuals, advertisements,

pamphlets, brochures, circulars, samples, and/or models, that the Dishwashers are fit for the ordinary

purpose for which they are sold.

       41.     Whirlpool expressly warrants in its Owner Manuals and User Instructions that the

Dishwashers are free from defects for one year.

       42.     Whirlpool’s manifest intent that its warranties apply to Plaintiff and consumer Class

Members as third-party beneficiaries is evident from the statements contained in its product

literature, including its Major Appliance Limited Warranty (“the Warranty”), which begins the date

of the consumer’s purchase and excludes commercial, non-residential use. Exhibit A. Likewise, it

was reasonably foreseeable that Plaintiff and consumer Class Members would be the intended

beneficiary of the products and warranties.

       43.     Specifically, Whirlpool’s one-year Warranty provides as follows:

       For one year from the date of purchase, when this major appliance is installed,
       operated and maintained according to instructions attached to or furnished with the
       product, Whirlpool Corporation or Whirlpool Canada LP (hereafter “Whirlpool”) will
       pay for Factory Specified Replacement Parts and repair labor to correct defects in
       materials or workmanship that existed when this major appliance was purchased, or
       at its sole discretion replace the product. In the event of product replacement, your
       appliance will be warranted for the remaining term of the original unit's warranty
       period. Exhibit A.


       44.     The Warranty fails of its essential purpose for the following reasons:

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             a. Whirlpool fails to disclose its knowledge of the defect when contacted by customers
                about Dishwasher failures;

             b. Whirlpool provides identically defective sump assemblies with inverted Diverter
                Shaft Seals; and

             c. When Whirlpool replaces the entire Dishwasher, it reduces the Warranty of the new
                Dishwasher to the remaining term of the original Dishwasher.
       45.      As described herein, Whirlpool breached this warranty at the time Plaintiff and Class

Members purchased the Dishwashers because, the Dishwashers were defective when they came off

of the assembly line. Thus, at the time the defective Dishwashers sold to consumers, Whirlpool was

already in violation of the express warranty.

       46.      Further, because Whirlpool does not have non-defective sump assemblies with

properly oriented Diverter Shaft Seals available to replace the defective assembly, and because its

repairs are simply a band-aid that do not resolve the Defect, it is unable to fulfill its warranty

obligations at the point of purchase, or anytime thereafter, and the warranty is therefore breached

immediately upon purchase.

       47.      In addition, the Warranty has several terms that are unconscionable as follows:

             a. In the one-year time limitation when the latent defect regularly does not manifest until

                after the expiration of the limitation;

             b. In the failure and refusal to extend the time limitation at the time a replacement is

                installed;

             c. In its prohibition against application in multi-family residences;

             d. In its exclusion of repairs to parts or systems to correct product damage or defects

                caused by unauthorized service, alteration or modification of the appliance;

             e. In its exclusion of travel or transportation expenses for service in remote locations

                where an authorized Whirlpool servicer is not available;

             f. In its disclaimer of warranties; and

             g. In its limitation of remedies, including disclaimer of consequential damages.


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       48.     The Warranty is further unconscionable given Whirlpool’s knowledge of the defect,

the existence of the defect at the point of sale, Whirlpool’s failure to disclose the defect at the time

of sale and during warranty communications, and in the premature failure of the Dishwashers.

       49.     The defect renders the Dishwashers unfit for the ordinary purpose for which they are

used, which is to reliably clean dishes.

       50.     Had Plaintiff, Class Members, and the consuming public known that the Dishwashers

were defective and would cause damage to other property, they would not have purchased the

Dishwashers at all, or would not have paid the price they did.

       51.     In sum, Whirlpool has actively concealed the existence and nature of the defect from

Plaintiff and Class Members, despite its knowledge of the existence and pervasiveness of the defect,

and certainly well before Plaintiff and Class members purchased the Dishwashers and during

warranty communications. Specifically, Whirlpool has:

       a.       Failed to disclose the defect to consumers, at or after the time of purchase, including

                when consumers make warranty claims or otherwise complain to Whirlpool or its
                affiliates about the defect;

       b.       Actively concealed the Defect from consumers, at or after the time of purchase,

                including when consumers make warranty claims, or otherwise complain to

                Whirlpool about the defect;

       c.       Failed to disclose, and actively concealed the defect from consumers, including that

                the Dishwashers were not fit for their intended purpose;

       d.       Failed to disclose and actively concealed the defect from consumers when it

                improperly and unlawfully denied valid warranty claims; and




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       e.       Failed to disclose and actively concealed the defect from consumers when it provided

                them with replacement Diverter Shaft Seals and related sump assemblies, that

                contained such parts contain the same or similar defect.


       52.     As a direct, proximate, and foreseeable result of the defect, Plaintiff and Class

Members suffered damages, including but not limited to: (a) the difference in value of the

Dishwashers as purchased and the Dishwashers received; (b) loss of use of the Dishwashers; (c)

property damage; and (d) consequential damage.

                                 PLAINTIFF’S EXPERIENCE

       53.     In August of 2016, Ms. Cleveland began shopping for a new, reliable dishwasher that

would be long lasting and not require many repairs. After researching dishwashers, reviewing

specifications and other literature, and reading consumer reports, Ms. Cleveland selected a

Whirlpool Model WDF760SADW2.

       54.     Specifically, in selecting her Dishwasher, Ms. Cleveland relied on Whirlpool’s

representations that its dishwashers required fewer repairs than other brands of dishwashers, as well

as Whirlpool’s reputation and that she believed she was purchasing a high-quality product. She

expected the dishwasher would last at least ten years, and would not prematurely fail and cause

damage to her flooring.

       55.     On September 5, 2016, Ms. Cleveland purchased her Dishwasher from Warners’

Stellian for the amount of $500.00. Ms. Cleveland purchased her Dishwasher for normal, household

(non-commercial) use, and it has in fact at all times only been used for normal household purposes.

       56.     On September 13, 2016, the Dishwasher was installed in Ms. Cleveland’s kitchen,

and she began to regularly use it. From the time of purchase until the incident described below, Ms.



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Cleveland used the Dishwasher as intended and maintained it in a reasonable manner as an owner

of an appliance.

       57.     On June 15, 2020, Ms. Cleveland noticed a small amount of water leaking underneath

her Dishwasher. Over the following three months, the amount of water leaking beneath the

Dishwasher began to increase. Eventually, Ms. Cleveland began using a bath towel to control the

water leakage when using her Dishwasher. She cannot reasonably continue to use the Dishwasher

as the leaking increases and becomes unmanageable.

       58.     In August of 2020, Ms. Cleveland contacted an appliance repair company to evaluate

the leakage from her dishwasher. On August 27, 2020, the appliance repair company inspected the

dishwasher to determine the leakage source. At that time, the repair technician informed Ms.

Cleveland that the leak was coming from the diverter motor seal, which was caused by a product

defect and was not fixable. The technician charged Ms. Cleveland $109.95 for the service visit, and

advised her to replace her dishwasher.

       59.     When the Dishwasher was removed for inspection, it was also discovered that the

grout on the tile floor under the Dishwasher was damaged by the leakage.

       60.     After learning that her dishwasher suffers from a known defect, Ms. Cleveland

performed research online and discovered numerous other consumers reporting the same or similar

incidences of leakage from the Diverter Shaft Seal.

       61.     In August of 2020, Ms. Cleveland also contacted the seller, Warners’ Stellian, to

notify it of the failure and resulting damage, but has not received a response.

       62.     On September 4, 2020, Ms. Cleveland contacted Whirlpool via its 1-800 warranty

claims phone number. After waiting on hold for an hour, Ms. Cleveland notified the Whirlpool

representative that her Dishwasher had a defect in which water was leaking through the Shaft Seal.

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The Whirlpool representative informed her that the expected service life of a Dishwasher is five

years. However, despite the fact Ms. Cleveland’s Dishwasher is approximately four years old,

Whirlpool informed her that it would not replace her Dishwasher. The Whirlpool representative

further represented to her that its warranty system did not indicate any similar complaints.

       63.     Because Whirlpool unlawfully concealed the Defect from Ms. Cleveland before her

purchase, as well as after the Dishwasher was installed in her home and being used, she did not

suspect (and had no reason to suspect) that there was anything wrong with the Dishwasher until the

Defect manifested.

       64.     Ms. Cleveland’s Dishwasher has not operated properly for its life expectancy. Had

she known of the defect, she would have either not purchased the Dishwasher or would have paid

less than she did. Therefore, she did not receive the benefit of her bargain.


                              WHIRLPOOL’S ACTUAL OR
                       CONSTRUCTIVE KNOWLEDGE OF THE DEFECT


       65.     Whirlpool knew or should have known when it sold the Dishwashers to the public

that the Dishwashers suffered from the defect, and that the defect caused the Dishwashers to function

improperly during their expected useful life, fail prematurely, and might result in significant

property damage to consumers and the public.

       66.     Whirlpool’s knowledge of these facts is established through consumer complaints,

including several years of public Internet posts on consumer websites, complaining that the

Dishwashers failed during normal use. Despite its knowledge, Whirlpool did not remedy or

eliminate the defect in the Dishwashers or remove them from the stream of commerce.




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           67.     Instead, Whirlpool replaced the defective Dishwashers with equally defective

Dishwashers, provided replacement Diverter Shaft Seals, which could not have been properly

installed, provided defective sump assemblies with the same inverted Diverter Shaft Seal, which did

not remedy the Defect, and/or improperly denied warranty claims.

           68.     Years of customer complaints are also available online regarding the Dishwashers.

For example, consumers noted:

       From Rmsmith on AppliancePartsPros.com approximately 8 years ago (Kenmore

665.13922K010):12


       I have a rather newish Kenmore Elite 665.13922K010. It has been leaking from the diverter
       motor, W10056349, which has been replaced by W10155344. The problem is the seal that the
       diverter motor rests against, which basically a 3/4" rubber washer with a spring behind it. I just
       ordered a replacement diverter motor, but I can't see that the seal is included; the exploded
       diagram didn't have a complete breakout.


       From Manage my Life on September 23, 2013 on Shopyourway.com (Kenmore

665.13942K010):13


       Kenmore Elite Dishwasher model 665.13942K010. Sears repairman replaced Diverter Valve
       Motor W10056349 on 5/21/12 due to water leaking through it. Today (9/23/13) same leak is
       occurring again (this time resulting in water damage to surrounding area). Unfortunately, this
       time the leak also damaged one of the electrical connectors (on harness) that connects to the
       Diverter. It appears that the following parts need to be replaced to resolve the leak.
       1.                        Diverter                          Valve                          Motor
       2. Sump with Seal (because I cannot locate a part number for the seal alone)
       3. Wiring Harness (due to the one small harness connector being severely corroded)
       Questions:
       A. Is there a way to keep from having to replace these parts every year or so?
       B. Can the connector for the harness be purchased alone so that I do not have to buy and replace
       the                                       whole                                         harness?
       C. Can the seal in the Sump be purchased so that I do not have to purchase and replace the whole

12
     https://forum.appliancepartspros.com/posts/t469715-leaking-dishwasher-diverter-motor
13
     https://www.shopyourway.com/questions/1230353

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     sump?
     Thanks for any assistance you can provide.

     From Frances Starkey on ClassActionRebates.com on February 26, 2016:14

     The first time I used the Kitchen-Aid dishwasher, I flooded my kitchen which in my brand new
     house.
     I called Sears to report this and thet sent a repairman out and he had to replace the the
     pump/motor assembly.

     From Arpanshah on AppliancePartsPros.com approximately 4 years ago:15

     My Whirlpool Dishwasher was leaking from the bottom center and I had a technician who
     diagnosed and said that the Diverter Motor, part number W10537869, needs to be replaced. He
     just opened the bottom cover, ran the dishwasher cycle and saw water leaking but didn't remove
     any               of              the              parts              to              confirm.

     I looked at the forum here, ordered and fixed that part and the dishwasher is still leaking in the
     same place near the diverter motor. What did I miss? It seems the old diverter motor part is still
     good.

     Is it he grommet? Do i need to replace the Sump (W10455268) assembly? Is that something I
     can do myself? Any help is appreciated. I searched the forums and some talked about replacing
     sump and some talked about just applying the seal/grommet.

     From    tdietz   on   AppliancePartsPros.com        approximately      3   years    ago      (Kenmore

665.12762K310):16


     My dishwasher was leaking right around the diverter motor. I replaced the diverter motor
     thinking that was the problem but when I got in there, I saw the rubber grommet and I figured
     that was the problem. I went ahead and replaced the motor but the leak continued. The
     manufacturer discontinued selling the $5 grommet because they are evil :-) and instead only sold
     the entire sump which was a pain to replace and $50 to boot.

     Before I went that route, I removed the diverter motor and then treated the grommet with
     Permatex spray sealant from inside of the dishwasher. I put 5 coats which took about 10 minutes
     as you only wait about a minute between coat. After about 30 minutes, I also turned the
     dishwasher over and sprayed the sealant from the bottom a couple of coats as well. Then let it
     sit overnight. I reinstalled the diverter motor and ran the dishwasher through a couple of cycle
     the next day and not a leak in sight. Not sure how long this fix will hold but think it's a worth a
14
   https://www.classactionrebates.com/settlements/whirpool/
15
   https://forum.appliancepartspros.com/posts/t565085-whirpool-leaking
16
   https://forum.appliancepartspros.com/posts/t573018-whirlpool-diverter-motor-grommet-leak-fix

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       shot. This stuff has worked good on a oil leak underneath an old car I had so I assume it will last
       some                                                                                         time.

       Worse case scenario, you end up replacing the entire sump anyways so this is at least worth a
       shot before going that route. Certainly won't hurt anything other than the sump you'll already be
       replacing and is leaking anyways. Good luck!

       From J_H on AppliancePartsPros.com approximately 2 years ago (Kenmore 665.12762K310):17


       From the dates on these posts, I guess I am one of the lucky ones who didn't have his Kenmore
       665.12762K310 start leaking until it was nearly 5 years old. However, I am one of the unlucky
       ones who got the version with the grommet permanently affixed to the sump. Replaced the sump,
       replaced the diverter motor. Still leaks, and it's not just a trickle. What an abomination of design
       this                                             thing                                            is.

       Undecided about how to proceed. I have read the various posts - there is no easy way to create
       positive pressure to seal the grommet/shaft interface. I'm going to try to find a tight neoprene
       gasket & silicone and hope for the best.

       From Orchid Borealis Blogspot on March 11, 2017 (Kenmore 665.12793K311):18

       After 1 year of the major repair, it developed another problem in fall/winter 2016. This time,
       the diverter motor started to leak. From googling around, this is another common problem with
       this model. The lower spray arm of this dishwasher is not passively moving like most of the
       dishwasher; a motor controls the movement of the spray arm (see the next photo). I'm guessing
       the leaking problem is coming from this more complicated mechanisms. In this post, I'm going
       to illustrate how to repair this problem.


           69.      In conjunction with Whirlpool’s vast experience with kitchen appliances, including

designing and selling the Dishwashers, these facts and complaints illustrate that Whirlpool knew or

should have known of the defect.

           70.      Whirlpool has a duty to disclose the defect and to not conceal the defect from Plaintiff

and Class Members. Whirlpool’s failure to disclose, or active concealment of, the defect places

Plaintiff and Class members at risk of property damage.


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     https://forum.appliancepartspros.com/posts/t469715findlastpost-leaking-dishwasher-diverter-motor
18
     http://orchidborealis.blogspot.com/2017/03/kenmore-dishwasher-leaking-diverter.html

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       71.     Upon information and belief, Whirlpool is currently still selling the defective

Dishwashers, concealing the defect, failing to notify consumers of the defect, and failing to recall

the Dishwashers.

       72.     Moreover, Whirlpool continues to falsely represent through written warranties and

manuals that the Dishwashers are free from defect, are of merchantable quality, and will perform

dependably for years.

       73.     When corresponding with customers, Whirlpool does not disclose that the

Dishwashers suffer from the defect. As a result, reasonable consumers, including Plaintiff and Class

Members, purchased and used, and continue to purchase and use the Dishwashers in their homes

even though they will prematurely fail and cause damage to other property.

       74.     When Whirlpool replaces units, it fails to disclose the known Defect and it replaces

the defective Dishwashers with equally defective Dishwashers, or just replaces the parts with the

same defective assemblies, which does not remedy the defect.

       75.     Had Plaintiff, Class Members, and the consuming public known that the Dishwashers

were defective, would prematurely fail and cause damage to their property, and they would not have

purchased the Dishwashers.

       76.     Whirlpool has wrongfully placed on Plaintiff and Class members the burden,

expense, and difficulty involved in discovering the defect, repairing and replacing the Dishwashers

(potentially multiple times), and paying for the cost of damages caused by the defect.

                        TOLLING OF THE STATUTE OF LIMITATIONS

       A.      Discovery Rule Tolling




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        77.     Plaintiff and Class Members could not have discovered through the exercise of

reasonable diligence that their Dishwashers were defective within the time-period of any applicable

statutes of limitation.

        78.     Among other things, neither Plaintiff nor the other Class Members knew or could

have known that the Dishwashers contain the defect, which causes leakage and damage to other

property.

        79.     Further, Plaintiff and Class Members had no knowledge of the defect and it occurred

in a part of the Dishwashers that is not visible to consumers. Whirlpool attempted to conceal its

knowledge of the defect or otherwise capitalize on it further by selling defective replacement parts.

Accordingly, any applicable statute of limitation is tolled.

        B.      Fraudulent Concealment Tolling


        80.     Throughout the time period relevant to this action, Whirlpool concealed from and

failed to disclose to Plaintiff and the other Class Members vital information about the defect

described herein.

        81.     Whirlpool kept Plaintiff and the other Class Members ignorant of vital information

essential to the pursuit of their claims. As a result, neither Plaintiff nor the other Class Members

could have discovered the defect, even upon reasonable exercise of diligence.

        82.     Throughout the Class Period, Whirlpool has been aware that the pump assembly it

designed, manufactured, and installed in the Dishwashers contained the defect, resulting in

premature and accelerated degradation of the Diverter Shaft Seal and eventual leakage.

        83.     Despite its knowledge of the defect, Whirlpool failed to disclose and concealed, and

continues to conceal, this critical information from Plaintiff and the other Class Members, even



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though, at any point in time, it could have disclosed the defect through recall, individual

correspondence, media release, or by other means.

       84.     Plaintiff and the other Class Members justifiably relied on Whirlpool to disclose the

Defect in the Dishwashers that they purchased, because the defect was hidden and not discoverable

through reasonable efforts by Plaintiff and the other Class Members.

       85.     Thus, the running of all applicable statutes of limitation have been suspended with

respect to any claims that Plaintiff and the other Class Members have sustained as a result of the

defect, by virtue of the fraudulent concealment doctrine.

       C.      Estoppel


       86.     Whirlpool was under a continuous duty to disclose to Plaintiff and the other Class

Members the true character, quality, and nature of the defective Dishwashers.

       87.     Whirlpool knowingly concealed the true nature, quality, and character of the

defective Dishwashers from consumers.

       88.     Based on the foregoing, Whirlpool is estopped from relying on any statutes of

limitations in defense of this action.

                                CLASS ACTION ALLEGATIONS

       89.     Plaintiff brings this lawsuit individually and as a class action on behalf of all others

similarly situated pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), and/or (b)(3). This

action satisfies the numerosity, commonality, typicality, adequacy, predominance, and superiority

requirements of Rule 23.

       90.     The Class is defined as:

       All persons in the State of Minnesota who own or owned a Whirlpool
       manufactured dishwasher with an inverted diverter shaft seal.


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       91.    Excluded from the Class are Defendant and its subsidiaries and affiliates,

Defendant’s executives, board members, legal counsel, the judges and all other court personnel to

whom this case is assigned, and their immediate families.

       92.    Plaintiff reserves the right to amend or modify the Class definition after she has had

an opportunity to conduct discovery.

       93.    Numerosity: Fed. R. Civ. P. 23(a)(1). The Class is so numerous that the joinder of

all members is unfeasible and not practicable. While the precise number of Class Members has not

been determined at this time, Plaintiff is informed and believes that thousands of consumers have

purchased the Class Dishwashers in Minnesota.

       94.    Commonality: Fed. R. Civ. P. 23(a)(2) and (b)(3). There are questions of law and

fact common to the Class, which predominate over any questions affecting only individual Class

Members. These common questions of law and fact include, without limitation:

              a.    whether the Class Dishwashers are defectively designed or manufactured;

              b.    whether the fact that the Class Dishwashers suffer from the defect would be

                    considered material to a reasonable consumer;

              c.    whether, as a result of Whirlpool’s concealment or failure to disclose material

                    facts, Plaintiff and Class Members acted to their detriment by purchasing Class

                    Dishwashers manufactured by Whirlpool;

              d.    whether Whirlpool was aware of the defect;

              f.    whether Whirlpool breached express warranties with respect to the Class

                    Dishwashers;




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               g.    whether Whirlpool has a duty to disclose the defective nature of the Class

                     Dishwashers to Plaintiff and Class Members;

               h.    whether Plaintiff and Class Members are entitled to equitable relief, including

                     but not limited to a preliminary and/or permanent injunction; and

               i.    in other ways to be supplemented as a result of discovery.

       95.     Adequate Representation: Plaintiff will fairly and adequately protect the interests of

Class Members. Plaintiff has retained attorneys experienced in the prosecution of class actions,

including consumer and product defect class actions, and Plaintiff intends to prosecute this action

vigorously.

       96.     Predominance and Superiority: Plaintiff and Class Members have all suffered and

will continue to suffer harm and damages as a result of Whirlpool’s unlawful and wrongful conduct.

A class action is superior to other available methods for the fair and efficient adjudication of the

controversy. Absent a class action, Class Members would likely find the cost of litigating their

claims prohibitively high and would therefore have no effective remedy at law. Because of the

relatively small size of Class Members’ individual claims, it is likely that few Class Members could

afford to seek legal redress for Whirlpool’s misconduct. Absent a class action, Class Members will

continue to incur damages, and Whirlpool’s misconduct will continue without remedy. Class

treatment of common questions of law and fact would also be a superior method to multiple

individual actions or piecemeal litigation in that class treatment will conserve the resources of the

courts and the litigants and will promote consistency and efficiency of adjudication.

                                  FIRST CAUSE OF ACTION
                               BREACH OF EXPRESS WARRANTY




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                          (Plaintiff Individually and on Behalf of the Class)

       97.     Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       98.     In connection with its sale of the Dishwashers, Whirlpool expressly warranted that

they were free from defect at the time of purchase, and suitable for reliable dishwashing.

       99.     The defectively designed Dishwashers are subject to and otherwise covered by

Whirlpool’s Major Appliance Limited Warranty, which applies to each Dishwasher.

       100.    Each of the Dishwashers has an identical or substantially identical warranty.

       101.    Whirlpool was obligated, under the terms of the express warranty to adequately

repair or replace the defective Dishwashers for Plaintiff and Class Members.

       102.    Privity is not required because Plaintiff and each of the members of the Class are the

intended beneficiaries of Whirlpool’s warranties and its sale through retailers. The retailers were

not intended to be the ultimate consumers of the Dishwashers and have no rights under the warranty

agreements provided by Whirlpool. Whirlpool’s warranties were designed for and intended to

benefit the consumer only and Plaintiff and Class Members were the intended beneficiaries of the

Dishwashers.

       103.    More specifically, Whirlpool’s manifest intent that its warranties apply to Plaintiff

and consumer Class Members as third-party beneficiaries, is evident from the statements contained

in its product literature, including its Warranty, which specifically states the Dishwashers are to be

used for non-commercial, household use. Likewise, it was reasonably foreseeable that Plaintiff and

consumer Class Members would be the intended beneficiary of the products and warranties.

       104.    In its Warranty, Whirlpool warrants that the Dishwashers would be free of defects

for one year from the date of purchase. Exhibit A.


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       105.    Whirlpool’s warranty representations are made online, on its packaging, through its

various manuals, and its Warranty.

       106.    Whirlpool breached the warranty because it improperly and unlawfully denies valid

warranty claims, and it has failed or refused to adequately repair or replace the Dishwashers with

non-defective units or parts. Plaintiff and the Class Members have privity of contract with Whirlpool

through their purchase of the Dishwashers, and through the express written and implied warranties

that Whirlpool issued to its customers. Whirlpool’s warranties accompanied the Dishwashers and

were intended to benefit end-users of the Dishwashers.

       107.    To the extent Class Members purchased the Dishwashers from third-party retailers

or via the purchase of their homes, privity is not required because the Class Members are intended

third-party beneficiaries of the contracts between Whirlpool and third-party retailers and because

the express warranty is intended to benefit purchasers or owners subsequent to the third-party

retailer; in other words, the contracts are intended to benefit the ultimate consumer or user of the

Dishwashers.

       108.    The express written warranties covering the Dishwashers were a material part of the

bargain between Whirlpool and consumers. At the time it made these express warranties, Whirlpool

knew of the purpose for which Dishwashers were to be used.

       109.    Whirlpool breached its express warranties by selling Dishwashers that were, in

actuality, not free of defect, would inevitably fail prematurely, were not made from merchantable

material and workmanship, and could not be used for the ordinary purpose of reliably cleaning

dishwashes. Whirlpool breached its express written warranties to Plaintiff and Class Members in

that the Dishwashers are defective at the time they leave the manufacturing plant, and on the first

day of purchase, creating a risk of damage to Plaintiff and Class Members.

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        110.    The Dishwashers that the Plaintiff and Class Members purchased contained a Defect

that caused each of them damages including water damage to cabinetry and flooring, loss of the

product, loss of the benefit of their bargain, and other property damage.

        111.    The limitations and the exclusions in Whirlpool’s Warranty are harsh, oppressive,

one-sided, unconscionable and unenforceable, as described supra, particularly in light of the fact

that Whirlpool knew that the Dishwashers suffered from the Defect described herein.

        112.    Any attempt by Whirlpool to limit or disclaim the express warranty in a manner that

would exclude coverage of the defect is unconscionable as a matter of law because the relevant

purchase transactions were tainted by Whirlpool’s concealment of material facts. Thus, any such

effort to disclaim, or otherwise limit, its liability for the defect is null and void.

        113.    Moreover, Whirlpool was put on constructive notice about its breach through its

review of consumer complaints dating back at least eight years ago, as well as through appliance

sale and repair entities, and, upon information and belief, through product testing.

        114.    Plaintiff put the seller of her Dishwasher on notice of her discovery of the defect in

August 2020 and did not receive a response.

        115.    Plaintiff put Whirlpool on notice of the defect prior to the filing of this lawsuit and

did not receive an adequate response.

        116.    Despite having notice and knowledge of the defective nature of the Dishwashers,

Whirlpool failed to provide any relief to Class Members with Dishwashers more than one (1) year

old, failed to provide a non-defective replacement Dishwasher to Plaintiff and Class Members, and

otherwise failed to offer any appropriate repair or compensation from the resulting damages.




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        117.    Whirlpool breached its express warranty to adequately repair or replace the

Dishwashers despite its knowledge of the defect, and/or despite its knowledge of alternative designs,

materials, and/or options for manufacturing the Dishwashers.

        118.    To the extent that Whirlpool offered to replace the defective Dishwashers, the

warranty of replacement fails in its essential purpose given it is insufficient to make Plaintiff and

Class Members whole because the warranty covering the Dishwashers gives Whirlpool the option

to repair or replace the Dishwasher, where neither is sufficient. Specifically, in its course of business,

Whirlpool often has opted to provide a replacement Dishwashers to complaining consumers;

however, the replacement Dishwasher likewise contains the defect, resulting in the same or similar

damages.

        119.    Further, where Whirlpool has sold or otherwise provided replacement sump

assemblies, those assemblies are likewise defective and have failed or will fail in the same manner.

        120.    Many of the damages resulting from the defective Dishwashers cannot be resolved

through the limited remedy of replacement, as incidental and consequential damages from water

damage to cabinetry and flooring that Plaintiff and Class Members have already been suffered due

to Whirlpool’s conduct as alleged herein.

        121.    Accordingly, recovery by Plaintiff and Class Members is not limited to the limited

warranty of replacement, and they seek all remedies allowed by law.

        122.    Had Plaintiff, Class Members, and the consuming public known that the Dishwashers

were defective, would cause damage, or that Whirlpool would not properly honor its warranty, they

would not have purchased the Dishwashers or would have paid less for them.

        123.    To the extent any express warranties do not by their terms cover the defect alleged

in this Complaint, and to the extent the contractual remedy is in any other respect insufficient to

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make Plaintiff and Class Members whole, the warranty fails of its essential purpose and,

accordingly, recovery by Plaintiff and Class Members are not restricted to the promises in any

written warranties, and they seek all remedies that may be allowed.

       124.    Plaintiff and Class Members have performed all duties required of them under the

terms of the express warranty, except as may have been excused or prevented through the conduct

of Whirlpool or by operation of law in light of Whirlpool’s conduct described throughout this

Complaint.

       125.    Whirlpool has received timely notice regarding the problems at issue in this

litigation, and notwithstanding, Whirlpool has failed and refused to offer an effective remedy.

       126.    As a direct and proximate result of Whirlpool’s breach of its express written

warranties, Plaintiff and Class Members have suffered damages and did not receive the benefit of

the bargain and are entitled to recover compensatory damages, including, but not limited to the cost

of inspection, repair, damage to other property, and diminution in value. Plaintiff and Class

members suffered damages at the point of sale stemming from their overpayment for the defective

Dishwashers, in addition to water damage to other property, and loss of the product and its intended

benefits.

                                    SECOND CAUSE OF ACTION
                                BREACH OF IMPLIED WARRANTY
                          (Plaintiff Individually and on Behalf of the Class)

       127.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       128.    Whirlpool is a merchant and was at all relevant times involved in the manufacturing,

and is the distributor, warrantor, and/or seller of the Dishwashers. Whirlpool knew or had reason to

know of the specific use for which the Dishwashers, as goods, were purchased.


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       129.    Whirlpool entered into agreements with retailers, suppliers, and/or contractors to sell

its Dishwashers to be installed at Plaintiff’s and Class Members’ homes.

       130.    Whirlpool provided Plaintiff and Class Members with implied warranties that the

Dishwashers were merchantable and fit for the ordinary purposes for which they were used and sold

and were not otherwise injurious to consumers and their property.

       131.    However, the Dishwashers are not fit for their ordinary purpose of providing

reasonably reliable method of washing dishes because, inter alia, the Dishwashers contain a defect

preventing the Dishwashers from reliably washing dishes and causing leakage outside of the unit

and damaging cabinetry and flooring. Therefore, the Dishwashers are not fit for their particular

purpose of reliably washing dishes.

       132.    Plaintiff and Class Members have had sufficient direct dealings with either Whirlpool

or one of its agents to establish privity of contract between Whirlpool, on the one hand, and Plaintiff

and each Class Member, on the other hand.

       133.    Privity is not required because Plaintiff and each of the Class Members are the

intended beneficiaries of Whirlpool’s warranties and its sale through retailers. The retailers were

not intended to be the ultimate consumers of the Dishwashers and have no rights under the

warranties provided by Whirlpool. Whirlpool’s warranties were designed for and intended to benefit

the consumer only and Plaintiff and Class Members were the intended beneficiaries of the

Dishwashers.

       134.    More specifically, Whirlpool’s manifest intent that its warranties apply to Plaintiff

and consumer Class Members as third-party beneficiaries, is evident from the statements contained

in its product literature, including its Warranty, which specifically states the Dishwashers are to be




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used for household, non-commercial use. Likewise, it was reasonably foreseeable that Plaintiff and

consumer Class Members would be the intended beneficiary of the products and warranties.

       135.    Whirlpool impliedly warranted that the Dishwashers were of merchantable quality

and fit for such use. These implied warranties included, among other things: (i) a warranty that the

Dishwashers manufactured, supplied, distributed, and/or sold by Whirlpool were safe and reliable

for cleaning dishes; and (ii) a warranty that the Dishwashers would be fit for their intended use while

the Dishwashers were being operated.

       136.    Contrary to the applicable implied warranties, the Dishwashers, at the time of sale

and thereafter, were not fit for their ordinary and intended purpose of providing Plaintiff and Class

Members with reliable and durable methods of cleaning dishes. Instead, the Dishwashers suffer

from a defective design and/or manufacture, as alleged herein.

       137.    Whirlpool’s failure to adequately repair or replace the defective Dishwashers has

caused the warranty to fail of its essential purpose.

       138.    Whirlpool breached the implied warranties because the Dishwashers were sold with

the Defect, which substantially reduced and/or prevented the Dishwashers from being used for safe

food preparation.

       139.    Plaintiff notified the seller of her Dishwasher of the defect in August of 2020.

       140.    Plaintiff provided Whirlpool notice of its breach in September of 2020, prior to the

filing of this Complaint.

       141.    Moreover, Whirlpool was put on constructive notice about its breach through its

review of consumer complaints and other reports described herein, and, upon information and belief,

through product testing.




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       142.    Had Plaintiff, Class Members, and the consuming public known that the Dishwashers

were defective or would cause damage, they would not have purchased the Dishwashers or would

have paid less for them.

       143.    As a direct and proximate result of the foregoing, Plaintiff and the Class Members

suffered, and continue to suffer, financial damage and injury, and are entitled to all damages, in

addition to costs, interest and fees, including attorneys’ fees, as allowed by law.

                                      THIRD CAUSE OF ACTION
                                       (IN THE ALTERNATIVE)
                                           Breach of Contract
                           (Plaintiff Individually and on Behalf of the Class)

       144.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       145.    To the extent Whirlpool’s commitment is deemed not to be a warranty under

Minnesota’s Uniform Commercial Code, Plaintiff plead in the alternative under common law

warranty and contract law.

       146.    Plaintiff and Class Members purchased the Dishwashers from Whirlpool or through

authorized retailers and other appliance stores.

       147.    Whirlpool expressly warranted that the Dishwashers were fit for their intended

purpose and that they were free of defect and suitable for cleaning dishes.

       148.    Whirlpool made the foregoing express representations and warranties to all

consumers, which became the basis of the bargain between Plaintiff, Class Members, and Whirlpool.

       149.    Defendant breached the warranties and/or contract obligations by placing the

defective Dishwashers into the stream of commerce and selling them to consumers, when it knew

the Dishwashers contained the Defect, were prone to premature failure, would not reliable clean


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dishes, and would cause water damage to cabinetry and flooring. These deficiencies substantially

and/or completely impair the use and value of the Dishwashers.

       150.    The deficiencies described existed when the Dishwashers left Whirlpool’s possession

or control and were sold to Plaintiff and Class Members. The deficiencies and impairment of the

use and value of the Dishwashers were not discoverable by Plaintiff or Class Members at the time

of the purchase of the Dishwashers.

       151.    Had Plaintiff, Class Members, and the consuming public known that the Dishwashers

were defective or would cause damage, they would not have purchased the Dishwashers or would

have paid less for them.

       152.    As a direct and proximate cause of Whirlpool’s breach of contract, Plaintiff and Class

Members were harmed because they would not have purchased the Dishwashers if they knew the

truth about the defective condition of the Dishwashers.

                                    FOURTH CAUSE OF ACTION
                                       (IN THE ALTERNATIVE)
                                           Unjust Enrichment
                           (Plaintiff Individually and on Behalf of the Class)

       153.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       154.    This alternative claim is asserted on behalf of Plaintiff and Class Members to the

extent there is any determination that any contracts between Class Members and Whirlpool do not

govern the subject matter of the disputes with Whirlpool, or that Plaintiff does not have standing to

assert any contractual claims against Whirlpool.




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       155.    Plaintiff and Class Members conferred a monetary benefit on Whirlpool, and

Whirlpool had knowledge of this benefit. The average price paid by Plaintiff and Class Members

for the Dishwashers was more than $500.00.

       156.    By its wrongful acts and omissions described herein, including selling the defective

Dishwashers, Whirlpool was unjustly enriched at the expense of Plaintiff and Class Members.

       157.    Plaintiff’ and Class Members’ detriment and Whirlpool’s enrichment were related to

and flowed from the wrongful conduct alleged in this Complaint.

       158.    It would be inequitable for Whirlpool to retain the profits, benefits, and other

compensation obtained from its wrongful conduct as described herein in connection with selling the

defective Dishwashers.

       159.    Plaintiff and Class Members seek restitution from Whirlpool and an order of this

Court proportionally disgorging all profits, benefits, and other compensation obtained by Whirlpool

from its wrongful conduct and establishing a constructive trust from which Plaintiff and Class

Members may seek restitution.

                                  FIFTH CAUSE OF ACTION
              UNFAIR AND DECEPTIVE TRADE PRACTICES IN VIOLATION OF
                          MINNESOTA CONSUMER FRAUD ACT
                                 (MINN. STAT. § 325F., et seq.)
                      (Plaintiff Individually and on Behalf of the Class)

       160.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       161.    Minn. Stat. § 325F.69, Subdivision 1 provides:

       The act, use, or employment by any person of any fraud, false pretense, false promise,
       misrepresentation, misleading statement or deceptive practice, with the intent that
       others rely thereon in connection with the sale of any merchandise, whether or not any
       person has in fact been misled, deceived, or damaged thereby, is enjoinable as
       provided in Section 325F.70.


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       162.     Whirlpool sold merchandise in the form of Dishwashers to Plaintiff and Class

Members.

       163.     Whirlpool’s business practices, in designing, manufacturing, warranting, advertising,

marketing and selling its Dishwashers, of misrepresenting that: (1) their Dishwashers would be free

from defects; (2) its Dishwashers were “high-quality,” (3) purchasing or accepting replacement

Dishwashers and parts would remedy the problem; and (4) that reported problems with Dishwashers

were not caused by a Defect, even though Defendant knew and had substantial evidence to the

contrary, independently and collectively constitute the use of fraud, false promises,

misrepresentations, misleading statements and deceptive practices and, thus, constitute multiple,

separate violations of Minn. Stat. § 325F.69.

       164.     Whirlpool’s business practices, in manufacturing, warranting, advertising, marketing

and selling their Dishwashers while concealing, failing to disclose, suppressing or omitting material

information, including the Defect in the Dishwashers and Whirlpool’s knowledge of the Defect,

while continuing to misrepresent their Dishwashers as products that are free of defects, constitute

the use of fraud, false promises, misrepresentations, misleading statements and deceptive practices

and, thus, constitute multiple, separate violations of Minn. Stat. § 325F.69.

         165.    Whirlpool concealed the defective nature of their Dishwashers even after members

 of the Class began to report problems. Indeed, Whirlpool continued to affirmatively misrepresent

 and conceal from its dealers, distributors, and the public, the true nature of the Dishwashers. These

 omissions and misrepresentations constitute the use of fraud, false promises, misrepresentations,

 misleading statements and deceptive practices and, thus, constitute multiple, separate violations

 of Minn. Stat. § 325F.69.


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       166.    Whirlpool knew or should have known the Dishwashers were defectively designed

and/or manufactured, would fail prematurely, were not suitable for their intended use, and

otherwise were not as warranted and represented by Whirlpool. The fact that Whirlpool’s

Dishwashers fails prematurely is a material fact, the omission of which has the tendency or

capacity or is likely to mislead or deceive Plaintiff and Class Members, and is a fact which could

not reasonably be known by Plaintiff and Class Members. These omissions constitute the use of

fraud, false promises, misrepresentations, misleading statements and deceptive practices and,

thus, constitute multiple, separate violations of Minn. Stat. § 325F.69.

       167.    In connection with the manufacturing, warranting, advertising, marketing and sale

of Whirlpool’s Dishwashers, Whirlpool made the material omissions and misrepresentations set

forth in this Complaint in its warranty, manuals, advertising and other promotional materials

disseminated by or on behalf of Whirlpool in Minnesota.

       168.    Whirlpool’s omissions and misrepresentations set forth in this Complaint are

material in that they relate to information that would naturally affect the purchasing decisions or

conduct of purchasers, including Plaintiff and Class Members, regarding Whirlpool’s

Dishwashers.

       169.    Whirlpool had a duty to disclose to Plaintiff and members of the Classes the latent

Defect in the Dishwashers at the time of sale and during responses to complaints related to

reported problems with the Dishwashers, as the facts were material to Plaintiff’s and the Class

Members’ transactions; because it made contrary representations and statements, including that

the Dishwashers were defect free; because Whirlpool, as the party with knowledge of the Defect,

knew that Plaintiff and members of the Class were entering transactions and acting on Whirlpool’s

statements during communications pertaining to reported problems with the Dishwashers, under



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a mistake as to the fact of the defective design and/or manufacture of the Dishwashers; because

the fact of the defective nature of the design was peculiarly and exclusively within Whirlpool’s

knowledge and the mistaken parties, Plaintiff and Class Members, could not reasonably be

expected to discover it; and on account of the objective circumstances, Plaintiff and the members

of the Class reasonably expected disclosure of the fact of the Defect.

       170.    The facts concealed and/or not disclosed by Whirlpool to Plaintiff and the Class

are material facts in that such facts would naturally affect the conduct of purchasers and a

reasonable person would have considered those facts to be important in deciding whether or not

to purchase Whirlpool’s Dishwashers and/or a home with the Dishwashers.

       171.    The facts concealed and/or not disclosed by Whirlpool to Plaintiff and the Class

are material facts in that such facts would naturally affect the conduct of purchasers and a

reasonable person would have considered those facts to be important in deciding whether or not

to take action in response to Whirlpool’s misrepresentations during communications related to

complaints, including whether to: (1) repair or replace the Dishwashers out-of-pocket; (2) whether

to accept or purchase replacement Dishwashers and parts; and (3) whether to pursue action against

Whirlpool where Whirlpool have affirmatively represented that the cause of the problems related

to issues other than the defect in the Dishwashers.

       172.    Had Plaintiff and the Class Members known of the defective nature of Whirlpool’s

Dishwashers, they would not have purchased the Dishwashers, or would have paid less for their

Dishwashers.

       173.    Whirlpool possessed knowledge of the Dishwashers’ defective nature prior to

bringing the product to market, including upon information and belief, disregarding the Diverter

Shaft Seal’s manufacturer’s installation instructions. Whirlpool fraudulently, negligently,



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recklessly and/or intentionally concealed and/or failed to disclose the true nature of the design

and/or manufacturing defect in their Dishwashers for the purpose of inducing Plaintiff, the Class

Members, and their agents, to rely thereon, and Plaintiff and the Class, and their agents, justifiably

relied to their detriment upon the truth and completeness of Whirlpool’s representations about

their Dishwashers. Plaintiff and the Class relied on Whirlpool’s disclosure of all materials facts

and not omission of any material information regarding Whirlpool’s Dishwashers, both at the

time of purchase of the Dishwashers, and when communicating with Whirlpool to report damage

due to the defective nature of the Dishwashers.

       174.    Whirlpool’s fraudulent and deceptive practices repeatedly occurred in Whirlpool’s

trade or business and were capable of deceiving a substantial portion of the purchasing public.

       175.    As a direct and proximate cause of Whirlpool’s false and deceptive

misrepresentations and omissions regarding their Dishwashers, Plaintiff has suffered actual

injuries in that her Dishwasher has failed prematurely and caused water damage to her flooring.

Class Members have also suffered actual injury in that their Dishwashers have failed prematurely,

have caused damage to cabinetry and flooring, and/or Class Members are reasonably certain to

suffer actual injury well in advance of the represented and expected life of the Dishwashers, as

the failure process has begun to manifest in their Dishwashers.

       176.    Separate from, and in addition to, their actual damages, Plaintiff and Class

Members’ expectations were frustrated as a result of Whirlpool’s omissions and

misrepresentations, and Plaintiff and Class Members did not receive what they expected to

receive, which injury constitutes a loss. Plaintiff and Class Members are thus entitled to recover

the difference between the actual value of the Dishwashers and the value the Dishwashers would

have possessed had Whirlpool’s representations about the quality, durability, and service life of



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the Dishwashers been true.

       177.    As a result of Whirlpool’s unlawful conduct, Plaintiff and Class Members were

injured and suffered damages. Plaintiff and Class Members are entitled to recover their actual

damages, and costs and disbursements, including costs of investigation and reasonable attorneys’

fees, as well as injunctive relief and other equitable relief, including restitution, as determined by

the Court, pursuant to Minnesota law, including Minn. Stat. §§ 8.31, subd. 1 and 3a. and 325F.69.

                                   SIXTH CAUSE OF ACTION
                             VIOLATIONS OF THE MINNESOTA
                      UNIFORM DECEPTIVE TRADE PRACTICES ACT
                       (Plaintiff Individually and on Behalf of the Class)

       178.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       179.    Minn. Stat. § 325D.44, Subdivision 1 provides, in part, as follows:

               Subdivision 1. A person engages in a deceptive trade practice when, in the
               course of business, vocation, or occupation, the person:
               …
               (5)    represents that goods or services have sponsorship, approval,
               characteristics, ingredients, uses, benefits or quantities that they do
               not have…;
               …
               (7)     represents that goods are of a particular standard, quality, or
               grade, or that goods are of a particular style or model, if they are of
               another . . .; or
               …
               (13) engages in any other conduct which similarly creates
               likelihood of confusion or of misunderstanding.


       180.    Whirlpool’s business practices, in manufacturing, advertising, marketing and

selling its Dishwashers, in misrepresenting material facts, including that the Dishwashers are

defect free; that the Dishwashers are “high-quality;” that the Dishwashers will last for at least one


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year; that the problems can be remedied by accepting or purchasing replacement Dishwashers or

parts; and that problems associated with the Dishwashers are not due to a defect, constitute

multiple, separate violations of Minn. Stat. § 325D.44, subd. 1 (5), (7) and (13), including:

           a. Falsely representing that their Dishwashers has characteristics, uses, benefits or
              qualities of being defect free, when, in fact, they are not, and expected to last for
              the represented lifetimes of the products, when, in fact, it does not;

           b. Falsely representing that the Dishwashers are of a particular standard, quality
              or grade when, in fact, it is not; and

           c. Creating the likelihood of confusion or of misunderstanding among consumers
              about the nature and quality of their Dishwashers, including that it is defect
              free and will last the represented product lifetimes, when, in fact, it is not and
              does not.


       181.    Whirlpool’s business practices, in manufacturing, advertising, marketing and

selling their Dishwashers while misrepresenting material facts, including that the Dishwashers

are defect free, and failing to disclose, concealing, suppressing, and omitting material information

concerning the defect in their Dishwashers and the true, lower life expectancy of the products,

constitute multiple, separate violations of Minn. Stat. § 325D.44, subd. 1 (5), (7) and (13).

       182.    Whirlpool engaged in the above conduct in the course of Whirlpool’s business and

this conduct was capable of deceiving a substantial portion of the consuming public.

       183.    Whirlpool intended that Plaintiff and the Class would rely on its

misrepresentations, concealment, warranties, deceptions and/or omissions regarding the fitness

of the dishwasher for its intended purpose and lack of defects.

       184.    The facts concealed or not disclosed by Whirlpool were material facts in that

Plaintiff, the Class and any reasonable consumer would have considered them in deciding whether

to purchase the Dishwashers.



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       185.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.

       186.    As a result of Whirlpool’s unlawful conduct, Plaintiff and Class Members were

injured and suffered damages, and are entitled to recover their actual damages, costs and

disbursements, including costs of investigation and reasonable attorneys’ fees, as well as

injunctive relief and other equitable relief, including restitution, as determined by the Court,

pursuant to Minnesota law, including Minn. Stat. §§ 8.31, subd. 1 and 3a. and 325D.45.

                         SEVENTH CAUSE OF ACTION
     VIOLATIONS OF THE MINNESOTA UNLAWFUL TRADE PRACTICES ACT
                (Plaintiff Individually and on Behalf of the Class)

       187.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       188.    Minn. Stat. § 325D.13 provides, in part, as follows:

       No person shall, in connection with the sale of merchandise, knowingly
       misrepresent, directly or indirectly, the true quality, ingredients or origin of such
       merchandise.


       189.    Whirlpool knowingly misrepresented and concealed the true quality of their

Dishwashers in connection with the sale of that merchandise.

       190.    Whirlpool knowingly misrepresented that their Dishwashers is defect free and the

life expectancy of its Dishwashers.

       191.    Whirlpool knowingly concealed from and failed to disclose to Plaintiff and Class

Members, in connection with the sale of their Dishwashers, material information, including the

defective nature of the products and the true, lower life expectancy of Whirlpool’s Dishwashers.

       192.    Whirlpool’s omissions and misrepresentations had the tendency or capacity to


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deceive or mislead Plaintiff, Class Members, their agents, and a substantial segment of the public.

       193.    Whirlpool’s omissions and misrepresentations were material because they related

to facts that would naturally affect the conduct of purchasers and that a reasonable person,

including Plaintiff and Class Members, and their agents, would have considered important in

deciding whether to purchase Whirlpool’s Dishwashers.

       194.    Whirlpool caused their Dishwashers to enter into interstate commerce.

       195.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.

       196.    As a result of Whirlpool’s unlawful conduct, Plaintiff and Class Members were

injured and suffered damages, and are entitled to recover their actual damages, costs and

disbursements, including costs of investigation and reasonable attorneys’ fees, as well as

injunctive relief and other equitable relief, including restitution, as determined by the Court,

pursuant to Minnesota law, including Minn. Stat. §§ 8.31, subd. 1 and 3a. and 325D.15.

                                  EIGHTH CAUSE OF ACTION
                                          NEGLIGENCE
                        (Plaintiff Individually and on Behalf of the Class)

       197.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       198.    Whirlpool has a duty to exercise reasonable care in the design, manufacturing,

processing, distributing, delivering, supplying, inspecting, marketing and/or selling the

Dishwashers that Whirlpool places into the stream of commerce, including a duty to assure that

the product will perform as intended and will not cause damage as described herein.

       199.    Whirlpool breached their duty by failing to exercise ordinary care in the



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manufacturing, processing, distributing, delivering, supplying, inspecting, marketing and/or

selling the Dishwashers that Whirlpool placed into the stream of commerce in that Whirlpool

knew or should have known that the product was defective, did not function as intended, and/or

created a high risk of unreasonable, dangerous, foreseeable consequences.

       200.    The negligence of Whirlpool, their agents, servants, and/or employees, includes,

but is not limited to, the following acts and/or omissions:

           a. designing, manufacturing, processing, distributing, delivering, supplying,

               inspecting, marketing and/or selling Dishwashers without thoroughly testing it;

           b. negligently failing to adequately and correctly warn Plaintiff, Class Members, and

               the public, of the risks, potential damage, and dangers of premature failure of

               Whirlpool’s Dishwashers;

           c. negligently failing to recall or otherwise notify users at the earliest date that it

               became known that the Dishwashers was, in fact, defective and would prematurely

               fail;

           d. negligently advertising and recommending the use of the Dishwashers without

               sufficient knowledge as to its manufacturing defect and premature failure;

           e. negligently representing that Whirlpool’s Dishwashers were suitable for its

               intended purpose when, in fact, the Defect will render the Dishwasher unable to

               properly clean dishes and otherwise lead to water damage outside of the units

               themselves;

           f. negligently designing and processing the Dishwashers in a manner that would

               prematurely fail; and

           g. in other such ways that may be proven at trial.



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        201.   Whirlpool were negligent in the design, manufacturing, processing, distributing,

delivering, supplying, inspecting, marketing and/or selling of Whirlpool’s Dishwashers in that

they:

           a. failed to use due care in designing and manufacturing the Dishwashers so as to

               avoid the premature failure when the Dishwashers was used for its intended

               purpose;

           b. designing and manufacturing the Dishwashers in a manner contradictory to the

               Diverter Shaft Seal’s manufacturing instructions;

           c. failing to conduct adequate testing to determine the useful life of the Dishwashers;

               and

           d. failing to warn Plaintiff, prior to actively encouraging the purchase of the

               Dishwashers either directly or indirectly, orally or in writing, about the defective

               nature of the product; and

           e. in other such ways that may be proven at trial.

        202.   Upon information and belief, despite the fact that Whirlpool knew or should have

known that the Dishwashers was defective and would prematurely fail, Whirlpool continued to

design, manufacture, process, distribute, deliver, supply, market and/or sell Dishwashers to

Plaintiff, Class Members, and/or the consuming public.

        203.   Whirlpool knew or should have known that consumers such as Plaintiff and Class

Members would foreseeably suffer damage to the Dishwashers and Plaintiff and Class Members’

property as a result of Whirlpool’s acts and omissions, as well as failure to exercise ordinary care,

as well as Whirlpool’s negligent design and manufacture of the Dishwashers, as set forth herein.

        204.   Whirlpool’s negligence was the proximate cause of Plaintiff’s and Class



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Members’ damages to the product, water damage to cabinetry and flooring, as well as economic

loss, which they suffered and will continue to suffer.

       205.    By reason of the foregoing, Plaintiff and Class Members experienced and/or are at

risk of premature failure of the Dishwashers, and water damage to cabinetry and flooring.

       206.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.

       207.    As a direct and proximate result of Defendant’s misconduct, Plaintiff and Class

Members have been damaged in an amount to be proven at trial.

                                     NINTH CAUSE OF ACTION
                                 FRAUDULENT CONCEALMENT
                         (Plaintiff Individually and on Behalf of the Class)

       208.    Plaintiff hereby adopts and incorporates by reference, all foregoing allegations as

though fully set forth herein.

       209.    Whirlpool knew or should have known that the Dishwashers were defective in

design and manufacture, was not fit for its ordinary and intended use, and failed to perform in

accordance with advertisements, marketing materials and warranties disseminated by Whirlpool,

and with the reasonable expectations of ordinary consumers.

       210.    Whirlpool fraudulently concealed from and/or intentionally failed to disclose to

Plaintiff and the Class that the Dishwashers is defective, would prematurely fail, and that the

damages were not the result of mishandling or installation errors.

       211.    Whirlpool had exclusive knowledge of the defective nature of the Dishwashers at

the time of sale and at all other relevant times. The Defect is latent and not something that Plaintiff

or Class Members, in the exercise of reasonable diligence, could have discovered independently



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prior to purchase.

       212.    Whirlpool had the capacity to, and did, deceive Plaintiff and Class Members into

believing that they were purchasing Dishwashers or homes with Dishwashers free from defects.

       213.    Whirlpool undertook active and ongoing steps to conceal the Defect. Plaintiff is

not aware of anything in Whirlpool’s advertising, publicity, or marketing materials that disclosed

the truth about the Defect, despite Whirlpool’s awareness of the problem.

       214.    The facts concealed and/or not disclosed by Whirlpool to Plaintiff and Class

members are material facts in that a reasonable person would have considered them important in

deciding whether to purchase (or to pay the same price for) the Dishwashers.

       215.    Whirlpool intentionally concealed and/or failed to disclose material factors for the

purpose of inducing Plaintiff and the Class to act thereon.

       216.    Plaintiff and the Class justifiably acted or relied upon the concealed and/or

nondisclosed facts to their detriment, as evidenced by their purchase of the Dishwashers.

       217.    Plaintiff and Class Members suffered a loss of money in an amount to be proven

at trial, inter alia, as a result of Whirlpool’s fraudulent concealment and nondisclosure because:

(a) they would not have purchased the Dishwashers on the same terms if the true facts concerning

the defective Dishwashers had been known; (b) they would not have paid a price premium for the

Dishwashers if they knew of the Defect and that the Dishwashers were likely to fail prematurely,

leak, and cause water damage to cabinetry and flooring; and (c) the Dishwashers did not perform

as promised.

       218.    Had Plaintiff, Class Members, and the consuming public known that the

Dishwashers were defective or would cause damage, they would not have purchased the

Dishwashers or would have paid less for them.



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       219.    By reason of the foregoing, Plaintiff and Class Members suffered, and continue to

suffer damage and injury.

                                     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated, respectfully

requests that this Court:

   A. Certify the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure;

   B. Award damages, including compensatory, exemplary, and statutory damages, to Plaintiff

       and the Classes in an amount to be determined at trial;
   C. Grant restitution to Plaintiff and the Classes and require Whirlpool to disgorge its ill-

       gotten gains;

   D. Permanently enjoin Whirlpool from engaging in the wrongful and unlawful conduct

       alleged herein;

   E. Award Plaintiff and the Class Members their expenses and costs of suit, including

       reasonable attorneys’ fees to the extent provided by law;

   F. Award Plaintiff and the Class Members pre-judgment and post-judgment interest at the

       highest legal rate to the extent provided by law; and

   G. Award such further relief as the Court deems appropriate.

                                        JURY DEMAND

Plaintiff demands a trial by jury.


DATED: September 4, 2020                     Respectfully submitted,

                                             /s/ Michelle J. Looby
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                          * Motion to be admitted pro hac vice forthcoming.




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